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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF MICHIGAN

United States of America,
Plaintiff,
Criminal No. 19-cr-20738
© Honorable Bernard A. Friedman
Joseph Ashton,
Defendant.

 

DEFENDANT’S ACKNOWLEDGMENT OF INFORMATION

 

I, Joseph Ashton, defendant in this case, hereby acknowledge that I have
received a copy of the Information before entering my plea, and that I have read it
and understand its contents.

I know that if I am convicted or plead guilty, I may be sentenced as follows:

As to Count One:

Conspiracy to Commit Honest Services Wire Fraud — 18 U.S.C. § 1349

Up to 20 years imprisonment and/or
a $250,000.00 fine
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As to Count Two:
Conspiracy to Commit Money Laundering — 18 U.S.C. § 1956(h)

Up to 10 years imprisonment and/or
a $250,000 fine

 

Defendant

ACKNOWLEDGMENT OF DEFENSE COUNSEL

I acknowledge that I am counsel for defendant and that I have received a copy
of the Standing Order for Discovery and Inspection which Poa all pre-trial

motions to be filed within twenty (20) days of SLA
[ sefoine A. Ballarotto
ounsel for Defendant
Dated: aa
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